Case 1:23-cv-00001-TSK-MJA Document 68 Filed 03/01/23 Page 1 of 5 PageID #: 176




                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               CLARKSBURG

 JOSEPH SEIKEL et al.,

                  Plaintiffs,

 v.                                 // CIVIL ACTION NO. 1:23-CV-01
                                                (Judge Kleeh)

 DAVID B. ALVAREZ et al.,

                  Defendants.


                    FIRST ORDER AND NOTICE REGARDING
                  DISCOVERY AND SCHEDULING CONFERENCE

       Pursuant to Fed. R. Civ. P. 16(b) and 26(f) and Local Rule of

 Civil Procedure (“L.R. Civ. P.”) 16.01 and 26.01, it is hereby

 ORDERED:

       1. Initial Planning Meeting on or before: March 30, 2023

       2. Meeting Report on or before:       April 13, 2023

       3. Initial Disclosures on or before: May 1, 2023

       4. Scheduling Conference:      if necessary

       (1) Initial Planning Meeting: Pursuant to Fed. R. Civ. P. 16

 and 26(f) and L.R. Civ. P. 16.01(b), parties to this action shall

 meet in person or by telephone on or before March 30, 2023.               At

 this meeting, the parties shall discuss all matters required by

 Fed. R. Civ. P. 16 and 26(f) and L.R. Civ. P. 16.01(b).



                                      1
Case 1:23-cv-00001-TSK-MJA Document 68 Filed 03/01/23 Page 2 of 5 PageID #: 177




       (2) Meeting Report and Proposed Discovery Plan: Pursuant to

 Fed. R. Civ. P. 26(f) and L.R. Civ. P. 16.01(c), the parties shall

 submit to this Court a written report on the results of the initial

 discovery meeting and a completed Scheduling Order Checklist (see

 attached) on or before April 13, 2023.          The written report shall

 include the parties’ report on those matters set forth in L.R.

 Civ. P. 16.01(b)(1-5) and 16.01(c) and the parties’ discovery plan

 as required by Fed. R. Civ. P. 26(f).       The parties’ report on their

 meeting shall be considered by this Court as advisory only.

 Parties and counsel are subject to sanctions as set forth in Fed.

 R. Civ. P. 16(f) and L.R. Civ. P. 37.01 for failure to participate

 in good faith in the development and submission of a meeting report

 and proposed discovery plan.

       (3) Initial Discovery Disclosures: Pursuant to Fed. R. Civ.

 P. 26(a)(1) and L.R. Civ. P. 26.01(a), each party shall provide to

 every other party the initial discovery disclosures required under

 Fed. R. Civ. P. 26(a)(1) on or before May 1, 2023.

       (4) Telephonic Scheduling Conference: Upon receipt of the

 meeting report and proposed discovery plan, this Court may conduct

 a scheduling conference at a date and time deemed appropriate.

 See Fed. R. Civ. P. 16(b) and L.R. Civ. P. 16.01(d).           However, if

 this Court determines, after a review of the meeting report and


                                      2
Case 1:23-cv-00001-TSK-MJA Document 68 Filed 03/01/23 Page 3 of 5 PageID #: 178




 proposed discovery plan, that a scheduling conference is not

 necessary, no conference will be scheduled, and a scheduling order

 will be entered.       See Fed. R. Civ. P. 16(b) and L.R. Civ. P.

 16.01(d).

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all

 counsel of record herein, along with copies of this Court’s

 Scheduling Order Checklist.

       DATED: March 1, 2023


                                    ____________________________
                                    THOMAS S. KLEEH, CHIEF JUDGE
                                    NORTHERN DISTRICT OF WEST VIRGINIA




                                      3
Case 1:23-cv-00001-TSK-MJA Document 68 Filed 03/01/23 Page 4 of 5 PageID #: 179




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 JOSEPH SEIKEL et al.,

                  Plaintiffs,

 v.                                 // CIVIL ACTION NO. 1:23-CV-01
                                                (Judge Kleeh)

 DAVID B. ALVAREZ et al.,

                  Defendants.


                        SCHEDULING ORDER CHECKLIST


 ATTORNEYS:


                                                            DATE:

  JOIN PARTIES OR AMEND PLEADINGS

  PLAINTIFF EXPERT DISCLOSURE

  DEFENDANT EXPERT DISCLOSURE

  COMPLETION OF DISCOVERY

  MEDIATION

  DISPOSITIVE MOTIONS

  RESPONSE TO DISPOSITIVE MOTIONS                  Within 21 days of the
                                                    filing of the motion
  REPLY TO DISPOSITIVE MOTIONS                     Within 14 days of the
                                                    filing of a Response
  PRETRIAL DISCLOSURES, FED R. CIV. PRO.
  26(a)3

                                      4
Case 1:23-cv-00001-TSK-MJA Document 68 Filed 03/01/23 Page 5 of 5 PageID #: 180




        OBJECTIONS

  PROPOSED VOIR DIRE, JURY INSTRUCTIONS,
  VERDICT FORMS, & SPECIAL INTERROGATORIES
        OBJECTIONS

  MOTIONS IN LIMINE

        OBJECTIONS

  BIOGRAPHICAL SKETCHES

  JOINT PRE-TRIAL ORDER

  STIPULATION OF FACTS

  FINAL PRE-TRIAL/SETTLEMENT CONFERENCE

  TRIAL DATE (including number of days)

  For a non-jury trial, provide deadlines
  for Proposed Findings of Fact and
  Conclusions of Law*

 * Parties requesting a non-jury trial should adjust the deadlines
 included in the checklist accordingly.




                                      5
